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    In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                          No. 14-1148V
                                      Filed: March 2, 2016

* * * * * * * * * * * * * * * *                            UNPUBLISHED
BILLY WHITCHURCH,                             *
                                              *            Special Master Hamilton-Fieldman
              Petitioner,                     *
                                              *            Joint Stipulation on Damages;
v.                                            *            Influenza (“Flu”) Vaccine;
                                              *            Chronic Inflammatory
SECRETARY OF HEALTH                           *            Demyelinating Polyneuropathy
AND HUMAN SERVICES,                           *            (“CIDP”).
                                              *
              Respondent.                     *
* * * * * * * * * * * * * * * *
John R. Howie, Jr., Howie Law, P.C., Dallas, TX, for Petitioner.
Ryan D. Pyles, United States Department of Justice, Washington, D.C., for Respondent.

                                          DECISION1

        On November 25, 2014, Billy Whitchurch (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006); Petition
(“Pet.”), ECF No. 1, at 1-5. Petitioner alleged that an influenza (“flu”) vaccination administered
on November 29, 2011 caused him to develop Chronic Inflammatory Demyelinating
Polyneuropathy (“CIDP”). Pet. at 1.

       On March 1, 2016, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Stipulation, ECF No. 32. Respondent denies that the flu
vaccine caused Petitioner’s CIDP and/or any other injury. However, the parties agree to the joint
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, codified as amended at 44 U.S.C. §
3501 note (2012). As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable and
adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

           a. A lump sum of $49,535.76, which amount represents reimbursement of a
              State of Missouri Medicaid lien, in the form of a check payable jointly to
              Petitioner and

               MO HealthNet Division
               Cost Recovery Unit
               P.O. Box 6500
               Jefferson City, MO 65102-6500

               Petitioner agrees to endorse this payment to the State; and

           b. A lump sum of $350,464.24 in the form of a check payable to Petitioner. This
              amount represents compensation for all remaining damages that would be
              available under 42 U.S.C. §300aa-15(a).

       Stipulation ¶ 8.

        The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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